        Case 2:20-cr-00013-DLC Document 33 Filed 09/18/20 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION

UNITED STATES OF AMERICA,                              CR 20–13–BU–DLC

                     Plaintiff,

        vs.                                                  ORDER

JOSHUA RODNEY MEECH,

                     Defendant.


      Before the Court is the government’s Unopposed Motion for Video

Testimony. (Doc. 32.) The United States asks for leave to present the testimony

of attorney CJ Cook via video conferencing at the bench trial scheduled for

September 28, 2020. (Id.) Attorney Cook is scheduled to begin a trial in a

separate matter in Chester, Montana on September 29, 2020. (Id.) In view of the

government’s assurance that it will make all necessary arrangements, the Court

agrees that good cause supports the motion.

      Accordingly, IT IS ORDERED that the motion (Doc. 32) is GRANTED.

      DATED this 18th day of September, 2020.
